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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
Vv. *
DEVANTE STEWART, ' CriminalNo. 16 = 16 0 BPG
Defendant. *
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AFFIDAVIT IN SUPPORT OF COMPLAINT AND ARREST WARRANT
Your Affiant, Charron Anderson, after being duly sworn, states as follows:

l. I am a Special Agent with the United States Department of Justice, Bureau of Alcohol,
Tobacco, Firearms and Explosives (“ATF”). I have been employed with the ATF since October, 2009. I
am assigned to the ATF Baltimore Field Division, Baltimore Group III, which is tasked with investigating
violent crime and gun trafficking as well as individuals or groups who commit violations of federal laws.

Currently I have been assigned to work in conjunction with the Baltimore City Police Department SES
Group on a joint enforcement operation.

2. In my capacity as a Special Agent, I have initiated surveillance, covered and worked in
an undercover capacity; covered confidential informant meets with targets, as well as executed search and
seizure warrants in furtherance of ongoing investigations. I have attended training encompassing the use
of cellular phones and electronic communication to facilitate criminal activities. I have participated in the
investigation and prosecution of convicted felons, firearms and narcotics traffickers, and individuals
involved in the possession and distribution of illicit firearms.

3. The information set forth below is drawn from my personal knowledge and observations,
discussions with other ATF agents as well as other law enforcement officers and employees, and
information received from witnesses, confidential sources or informants, various police reports, and
public records. This affidavit does not include every fact known to me concerning the investigation, and
instead contains only those facts that I believe establish probable cause to support the issuance of a
complaint and warrant for the arrest of Devante STEWART.

PURPOSE

This Affidavit is made in support of an application for the issuance of a complaint and
warrant for the arrest of Devante STEWART for distribution of heroin in violation of Title 21 of the
United States Code § 841 and Possession of a Firearm in Furtherance of a Drug Trafficking Crime, in
violation of Title 18 of the United States Code § 924(c) on October 1, 2015. The facts in this affidavit
come from my personal observations, my training and experience, and information obtained from other
agents and witnesses. ,

PROBABLE CAUSE

4. The ATF and BPD have been conducting an investigation of Devante STEWART; aka
“TONY” a known facilitator of narcotics and firearms trafficker in the Baltimore, Maryland area. In
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August 2015, the ATF and BPD began investigating STEWART and his associates in the Western
District of Baltimore City, Maryland.

5, On September 18, 2015 ATF Special Agents conducted an interview with a Confidential
Source (CS). The CS has been cooperating with federal agents since August 2015 and has provided
reliable information thereto. The CS stated that STEWART has possessed and distributed narcotics,
specifically heroin, to him/her, in exchange for firearms and currency, for approximately four years.

6. The CS stated it was STEWART’S proposal that STEWART would exchange the
narcotics he possessed for firearms from the CS. STEWART began ordering specific firearms from the
CS with the intent to supply unspecified quantities of heroin to the CS in exchange.

7. The CS stated on one occasion STEWART, via his girlfriend, sent a money order to
him/her to buy a specific firearm and recently STEWART “fronted” (advanced the CS funds) the CS
($500) five hundred dollars of US Currency towards the purchase of two Glock 40 caliber pistols. The
CS stated he/she and STEWART agreed that once the pistols were obtained by the CS, STEWART
would then give the CS heroin.

8. The CS recalls exchanging six (6) or more firearms in the last two (2) years with
STEWART in return for heroin.

9. On September 30, 2015 ATF utilized the Confidential Source (CS) to conduct a
consensually monitored telephone call to STEWART. The conversation involved the CS providing
STEWART three (3) Glock 40 caliber pistols and in exchange, STEWART gave the CS narcotics,
commonly referred to as heroin and an indeterminate of amount of US Currency. The transaction was set
to take place on October 1, 2015.

10. On October 1, 2015, ATF and BPD personnel using an ATF Undercover Agent (UC)
conducted a “buy/reverse” operation targeting STEWART. During the operation STEWART was
arrested after he distributed 3.6 grams of a controlled substance, (heroin), together with eighty ($80.00)
dollars of US Currency to the CS in exchange for three (3) Glock, model 27, 40 caliber pistols, The
transaction took place in Baltimore, Maryland. This buy/reverse transaction was both audio and video
recorded.

11. Once in custody, a search incident to arrest of STEWART revealed he was in possession
of the following items (on his person):

a. (1) One Springfield Armory, model: XD40, .40 caliber pistol, serial #: XD324019

b. (5) Five stainless steel .40 caliber magazines loaded with fifty-one (51) rounds of
assorted .40 caliber ammunition

c. Four hundred and thirty Dollars and fifty-six cents ($430.56) of US Currency and

d. (1) One Kyocera flip cellular phone.

12, Based on my training, knowledge and experience, as well as discussions with other law
enforcement officers, I know that individuals who traffic and deal in narcotics frequently carry and
possess firearms and additional ammunition (housed in firearm magazines) to protect themselves, their
product, and area of operation from rival drug traffickers, law enforcement, and other criminal elements.

13. Neither the aforementioned Glocks nor the Springfield Armory handguns are
manufactured in the State of Maryland and therefore travelled and affected interstate commerce previous
to their recovery during this investigation.
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14. All of the firearms described herein have been examined and were designed to be capable
of expelling a projectile by the action of an explosive and therefore meeting the definition of a firearm as
defined by Title 18, United States Code, § 921.

CONCLUSION

15. Having signed this affidavit under oath, as to all assertions and allegations contained
herein, I state that its contents are true and correct to the best of my knowledge, information and belief.

16. Your affiant believes, based on the information provided in this affidavit, that there exists
probable cause to believe that on October 1, 2015, defendant STEWART knowingly distributed and
possessed with the intent to distribute the aforementioned narcotics (heroin) in violation of Title 21 of the
United States Code § 841 and Possessed Firearms in Furtherance of a Drug Trafficking Crime, in
violation of Title 18, United States Code, Section 924 (c). Your affiant, therefore, respectfully request
that a complaint and warrant be issued against STEWART.

 

Charron Anderson, Special Agent
Bureau of Alcohol, Tobacco,
Firearms and Explosives

Sworn to and subscribed before me this
2 (© Day of January, 2016.

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/The Honorable Beth P, Gesner,
United States Magistrate- Judge
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